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 7   PABLO VASQUEZ
 8
 9              IN THE UNITED STATES OF DISTRICT COURT FOR THE
10                         EASTERN DISTRICT OF CALIFORNIA
11
12   UNITED STATES OF AMERICA,
                                                   CR.S. 2:11-CR-0275 JAM
13                             Plaintiff,
14                                                 REQUEST FOR ORDER AND ORDER
                   v.                              EXONERATING BOND
15
16   PABLO VASQUEZ,                                Judge: Hon. John A. Mendez
17                Defendant.
18
           On or about August 5, 2011, a $97,000 appearance bond, secured by two Deeds of
19
     Trust to the real Property of POMPOSO VASQUEZ in TEHAMA COUNTY was posted
20
     on behalf of defendant PABLO VASQUEZ.               On September 11, 2014, PABLO
21
     VASQUEZ was sentenced by this Court.
22
           Accordingly, it is now requested that the secured bond be exonerated and that the
23
     Clerk of the District Court be directed to reconvey back to the Trustor the Deeds of Trust
24
     received by the Clerk on or about August 5, 2011.
25
26
     DATED: November 17, 2011                              /s/ David D. Fischer
27                                                   DAVID D. FISCHER
28                                                   Attorney for Defendant
                                                     PABLO VASQUZ


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 1                                        ORDER
 2
           IT IS HEREBY ORDERED that the appearance bond in the amount of $97,000
 3
     posted by POMPOSO VASQUEZ secured by real property in TEHAMA COUNTY,
 4
     California, is hereby exonerated and the Clerk shall forthwith cause a Deed of
 5
     Reconveyance to be transmitted to the Trustor at the property address contained in the
 6
     Deeds of Trust.
 7
 8
     Dated: 11/18/2014                             /s/ John A. Mendez____________
 9                                                 JOHN A. MENDEZ
10                                                 U.S. DISTRICT COURT JUDGE
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